 8:05-cr-00378-BCB-RCC           Doc # 40   Filed: 02/03/06   Page 1 of 1 - Page ID # 94




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )          8:05CR378
                    Plaintiff,              )
                                            )
       vs.                                  )            ORDER
                                            )
MARCO A. COVARRUBIAS,                       )
                                            )
                    Defendant.              )



       Defendant’s Motion to Amend Order of Detention (Filing No. 39) is scheduled for
hearing before the undersigned magistrate judge at 10:45 a.m. on February 10, 2006, in
Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South
18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 3rd day of February, 2006.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
